                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
                           MILWAUKEE DIVISION

____________________________________
                                    )
 UNITED STATES OF AMERICA,          )
      STATE of WISCONSIN,           )
      STATE of ILLINOIS, and        )
      STATE of MICHIGAN,            )
                                    )                   Civil Action No. 10-C–00059 (JPS)
                  Plaintiffs,       )
                                    )
            v.                      )
                                    )
  DEAN FOODS COMPANY,               )
                                    )
                  Defendant.        )
____________________________________)


                       PARTIAL MOTION TO DISMISS
        OR, IN THE ALTERNATIVE, FOR A MORE DEFINITE STATEMENT

        Defendant Dean Foods Company (“Dean Foods”) hereby moves under Fed. R.

Civ. P. 12(b)(6) to dismiss Count 2 of the Complaint in this action (the “fluid milk” claim)

for failure adequately to plead an essential legal element of the claim, a relevant

geographic market.

        In the alternative, Dean Foods moves under Fed. R. Civ. P. 12(e) for an order

requiring plaintiffs to provide a more definite statement of the alleged facts that must be

pleaded to support a proper geographic market.

        In asserting that Wisconsin, the Upper Peninsula of Michigan, and northeastern

Illinois comprise the relevant geographic market for fluid milk sales, plaintiffs omit any

allegation about the ability of customers in this area to turn to alternative suppliers of

fluid milk or to resellers in the event of a significant price increase in the area or in any




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particular identified locations within the area. For the reasons explained more fully in the

accompanying memorandum supporting this motion, the omission of such allegations

requires the dismissal of plaintiffs’ fluid milk claim.

       In the alternative, if there are facts adequate to support a relevant geographic

market for fluid milk sales, plaintiffs should be required to provide a more definite

statement of those facts so that Dean Foods has an adequate opportunity to respond to the

geographic market plaintiffs are alleging.

       The Court’s resolution of this motion will necessarily frame the issues for

discovery and the remaining litigation of this matter.

       Dated this 18th day of February, 2010.

                                               Respectfully submitted,



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